                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Roanoke Division

VINCENT WOODHOUSE,

              Plaintiff,

v.                                          CIVIL ACTION NO. 7:20cv655

MAJOR KING, et al.,

              Defendants.

        DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO COMPEL

       Defendants, by counsel, hereby notify the Court that on June 2, 2021, Defendants mailed

their Responses to Plaintiff’s First Request for Production of Documents, ECF No. 17, in

accordance with the deadlines contained in the Federal Rules of Civil Procedure. Defendants

therefore request that this Court dismiss Plaintiff’s Motion to Compel Discovery, ECF No. 20, as

premature.

                                            Respectfully submitted,

                                            MAJOR KING, JOSEPH ELY, and UNIT
                                            MANAGER STALLARD

                                     By:           s/ Laura H. Cahill
                                            Laura H. Cahill, AAG, VSB#86328
                                            Office of the Attorney General
                                            Criminal Justice & Public Safety Division
                                            202 North 9th Street
                                            Richmond, Virginia 23219
                                            (804) 786-5630
                                            (804) 786-4239 (Fax)
                                            Email: lcahill@oag.state.va.us
                                CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of June 2021, I electronically filed the foregoing

Defendants’ Response to Plaintiff’s Motion to Compel Discovery with the Clerk of the Court

using the CM/ECF system, which will send a notification of such filing (NEF) to the following

CM/ECF participants: N/A, and I hereby certify that I have mailed the document by United

States Postal Service to the following non-CM/ECF participant:

       Vincent Woodhouse, # 1031027
       Wallens Ridge State Prison
       P.O. Box 759
       Big Stone Gap, VA 24219

                                                     s/ Laura H. Cahill
                                              Laura H. Cahill, AAG, VSB#86328
                                              Office of the Attorney General
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